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            EXHIBIT 2
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                                       HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

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                  Attorneys for Google LLC
               13
               14                              UNITED STATES DISTRICT COURT
               15                            NORTHERN DISTRICT OF CALIFORNIA
               16
                                                    SAN FRANCISCO DIVISION
               17
               18
                         GOOGLE LLC,                               CASE NO. 3:20-cv-06754-WHA
               19                                                  Related to Case No. 3:21-cv-07559-WHA
                                                Plaintiff,
               20                                                  GOOGLE LLC’S THIRD
                              vs.                                  SUPPLEMENTAL INITIAL
               21                                                  DISCLOSURES
               22 SONOS, INC.,
               23                               Defendant.
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                                                                                     Case No. 3:20-cv-06754-WHA
01980-00181/13541625.3                                   GOOGLE LLC’S THIRD SUPPLEMENTAL INITIAL DISCLOSURES
                         Case 3:20-cv-06754-WHA Document 697-2 Filed 05/09/23 Page 3 of 5

                                       HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

                 1
                                           94111
                 2                         415-875-6600

                 3       McDonnell       300 S Wacker Dr #3100          Prosecuting/filing   Matters concerning the
                         Boehen Hubert & Chicago, Illinois 60606        attorneys for U.S.   filing and prosecution
                 4       Berghoff LLP                                   Patent No.           of the Patents-in-Suit.
                                                                        9,967,615 and U.S
                 5                                                      Provisional Patent
                                                                        Application
                 6                                                      62/007,906
                 7
                         Nick Millington   Last known address:          Sonos employee       Prior art, use, sale, offer
                 8                                                                           for sale, conception and
                                           4670 La Espada Drive                              reduction to practice (if
                 9                         Santa Barbara, California                         any) of U.S. Patent Nos.
                                           93111                                             10,848,885 and
               10                                                                            10,469,966; matters
                                                                                             concerning Google’s
               11                                                                            and Sonos’s
                                                                                             collaboration regarding
               12                                                                            the integration of
                                                                                             Google’s music
               13                                                                            services into Sonos’s
                                                                                             products.
               14
               15        Ali Mills         May be reached through       Google employee      Matters concerning the
                                           counsel for Google.                               design and development
               16                                                                            of the accused casting
                                           Quinn Emanuel Urquhart                            playback of queues
               17                          & Sullivan, LLP                                   functionality for
                                           50 California Street, 22nd                        YouTube and YouTube
               18                          Floor                                             Music.
                                           San Francisco, California
               19                          94111
                                           415-875-6600
               20
               21        Vincent Mo        May be reached through       Google employee      Matters concerning the
                                           counsel for Google.                               design and development
               22                                                                            of the accused casting
                                           Quinn Emanuel Urquhart                            playback of queues
               23                          & Sullivan, LLP                                   functionality for
                                           50 California Street, 22nd                        YouTube and YouTube
               24                          Floor                                             Music; matters
                                           San Francisco, California                         concerning alternatives
               25                          94111                                             to accused
                                           415-875-6600                                      functionalities and
               26                                                                            products.

               27        David Nicholson   May be reached through       Google employee      Matters concerning the
                                           counsel for Google.                               design and development
               28                                                                            of the accused casting

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01980-00181/13541625.3                                     GOOGLE LLC’S THIRD SUPPLEMENTAL INITIAL DISCLOSURES
                         Case 3:20-cv-06754-WHA Document 697-2 Filed 05/09/23 Page 4 of 5

                                      HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

                 1           Google expressly reserves the right to supplement its responses pursuant to Rule 26(e) of the
                 2 Federal Rules of Civil Procedure as its investigation continues.
                 3
                 4 DATED: November 30, 2022                QUINN EMANUEL URQUHART & SULLIVAN, LLP
                 5
                 6
                                                           By     /s/ Charles K. Verhoeven
                 7                                              Charles K. Verhoeven
                                                                Attorneys for Plaintiff Google LLC
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01980-00181/13541625.3                                      GOOGLE LLC’S THIRD SUPPLEMENTAL INITIAL DISCLOSURES
                          Case 3:20-cv-06754-WHA Document 697-2 Filed 05/09/23 Page 5 of 5

                                         HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

                 1                                       CERTIFICATE OF SERVICE
                 2              The undersigned hereby certifies that all counsel of record who have consented to electronic
                 3
                         service are being served with a copy of this document via email on November 30, 2022.
                 4
                                                                             /s/ Jocelyn Ma
                 5                                                               Jocelyn Ma

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01980-00181/13541625.3                                         GOOGLE LLC’S THIRD SUPPLEMENTAL INITIAL DISCLOSURES
